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                      IN THE STATE COURT OF DEKALB COUNTY
                                STATE OF GEORGIA

 BRIDGET WRIGHT, LAQUITA SMITH,                       )
 individually and as Co-Administrators of             )
 the ESTATE OF ROBERT L. AVERY,                       )     CIVIL ACTION FILE NO.:
                                                             18A68769
 SR., (deceased),                                     )
                                                      )
        Plaintiffs,                                   )
                                                      )
 v.                                                   )
                                                      )
 EMORY HEATHCARE, INC., THE                           )
 EMORY CLINIC, INC., EMORY                            )
 UNIVERSITY, INC., JOHN VEGA, M.D.,                   )
 JASON MUESSE, M.D., BARRY                            )
 ANDERSON, P.A., KENNETH                              )
 ODIMGBE, RRT, CHOREEN POWELL,                        )
 RN, MANJU CIBI, RN, JOHN DOE                         )
 PHYSICIANS 1-3, JANE DOE NURSES                      )
 1-3, JANET DOE HEALTHCARE                            )
 PROVIDERS 1-3; XYZ                                   )
 CORPORATIONS 1-3,                                    )
                                                      )
        Defendants.                                   )


                                         COMPLAINT

       COMES NOW, Plaintiffs BRIDGET WRIGHT, LAQUITA SMITH, individually and as

Co-Administrators of the ESTATE OF ROBERT L. AVERY, SR., (deceased), files this Complaint

for Malpractice against Defendants and shows this Honorable Court the following:


                              I. VENUE AND JURISDICTION

                                             1.

       Plaintiffs Bridget Wright and Laquita Smith are the surviving children, and co-

administrators of the Estate of Robert L. Avery, Sr., deceased. They are authorized to bring this

wrongful death action and personal injury claims. The Plaintiffs are residents of Georgia.



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                                                                                             DEKALB COUNTY, GA.
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                                             2.

       Defendant Emory Healthcare, Inc. is licensed to do business in the state of Georgia. It may

be served through its registered agent, Jane Jordan, 201 Dowman Drive, 102 Administration Bldg.,

Atlanta, GA 30322. Defendant Emory Healthcare is subject to the jurisdiction and venue of this

court. Defendant Emory Healthcare is subject to the jurisdiction and venue of this court.

                                             3.

       Defendant The Emory Clinic, Inc. is licensed to do business in the state of Georgia. It may

be served through its registered agent, Jane Jordan, 1365 Clifton Rd. NE, Atlanta, GA, 30322.

Defendant The Emory Clinic is subject to the jurisdiction and venue of this court.

                                             4.

       Defendant Emory University, Inc. is licensed to do business in the state of Georgia. It may

be served through its registered agent Melinda Simon, 201 Dowman Drive, 102 Administration

Bldg., Atlanta, GA 30322. Defendant Emory is subject to the jurisdiction and venue of this court.

Defendant Emory University is subject to the jurisdiction and venue of this court.

                                             5.

       Corporations X-Z are unknown corporations registered to do business in Georgia who

employed healthcare providers that provided care and treatment to Mr. Avery on April 5, 2016.

All the above corporations listed in paragraphs 1-10, as well as corporations XYZ, will be

collectively referred to as “Defendant Emory.”

                                             6.

       Defendant John Vega, M.D. (hereinafter referred to as “Vega”) is a physician licensed to

practice medicine in the State of Georgia. He may be served at his resident address, 2354 Massey




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Lane, Decatur, GA 30033-1221. Defendant Vega is subject to the jurisdiction and venue of this

Court.

                                              7.

         Defendant Jason Muesse, M.D. (hereinafter referred to as “Muesse”) is a physician licensed

to practice medicine in the State of Georgia. He may be served at his resident address, 31

Woodstream Cove, Little Rock, AR 72211-4479. Defendant Muesse is subject to the jurisdiction

and venue of this Court.

                                              8.

         Defendant Kenneth Odimgbe, RRT (hereinafter referred to as “Odimgbe”) is a physician

assistant licensed to practice in the State of Georgia. He may be served at his resident address, 95

Tregoney Drive, Decatur, GA 30034-1185. Defendant Odimgbe is subject to the jurisdiction and

venue of this Court.

                                              9.

         Defendant Choreen Powell, R.N. (hereinafter referred to as “Powell”) is a registered Nurse

licensed to practice in the State of Georgia. She may be served at her last known resident address,

7401 Gossamer Street 366, Union City, GA 30291-6100. Defendant Powell is subject to the

jurisdiction and venue of this Court.

                                              10.

         Defendant Manju Cibi, R.N. (hereinafter referred to as “Cibi”) is a registered Nurse

licensed to practice in the State of Georgia. She may be served at her resident address, 295

Middleton Place, Grayson, GA 30017-4122. Defendant Cibi is subject to the jurisdiction and

venue of this Court.




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                                               11.

         John Doe Physicians 1-3, Jane Doe Nurses 1-3, and Janet Doe Healthcare providers 1-3,

respectively, are unknown physicians, nurses, and healthcare providers who provided care and

treatment to Robert Avery, Sr. These defendants are subject to the jurisdiction and venue of this

court.

                                               12.

         Defendant Barry Anderson, P.A. (hereinafter referred to as “Anderson”) is a licensed

Physician’s Assistant licensed to practice medicine in the State of Georgia. He may be served at

his resident address, 1293 Oxford Road NE, Atlanta, GA 30306-2426. Defendant Anderson is

subject to the jurisdiction and venue of this Court.

                                               13.

         At all times during their care and treatment of Robert Avery, Sr., Defendants Vega,

Muesse, Anderson, Odimgbe, Cibi, Powell, and John Doe Physicians 1-3, Jane Doe Nurses 1-3,

and Janet Doe Healthcare providers 1-3 were employees, agents, or ostensible agents of

Defendants Emory. Accordingly, Defendants Emory are responsible for the actions of its

employees under the theories of agency and/or respondeat superior.

                                             II. FACTS

                                               14.

         The plaintiff specifically reasserts and incorporates by reference each and every allegation

contained in Paragraphs 1 through 13 above.




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                                              15.

       On April 4, 2016, Robert Avery, Sr. presented to Defendants Vega, Muesse, and Anderson

and underwent a CABG. Mr. Avery’s surgery was uneventful, and he tolerated the procedure well.

                                              16.

       At 0200, Mr. Avery’s dexmedetomidine was turned off. There is no record in the chart of

any dipriven administered after the dexmedetomidine was discontinued.             Mr. Avery self-

extubated. He was not re-intubated.

                                              17.

       At or around 0000 on April 5, 2016. Mr. Avery developed tachycardia and tachypnea. At

0200 he developed atrial fibrillation in addition to an elevated heart rate and respiration rate. At

or around 0230 a code was called. At 0300 and 0400, Mr. Avery was pronounced dead.

                                      III. COUNT I:
                                  MEDICAL MALPRACTICE

                                              18.

       The plaintiff specifically reasserts and incorporates by reference each and every allegation

contained in Paragraphs 1 through 17 above.

                                              19.

       Defendant Emory, Defendants Vega, Muesse, Anderson, John Doe Physicians 1-3, and

Janet Doe Healthcare providers 1-3, owed a duty to provide that degree of care provided by

physicians or physician’s assistants generally under the same or similar circumstances as those

presented to them by Robert Avery, Sr. These defendants violated that standard when they failed

to timely reintubate Mr. Avery.




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                                       IV. COUNT II:
                                   NURSING MALPRACTICE

                                               20.

       Defendants Odimgbe, Cibi, Powell, and Janet Doe Nurses 1-3, owed a duty to provide that

degree of care and skill provided by respiratory therapists and nurses generally under the same or

similar circumstances as those presented to them by Robert Avery, Sr. These defendants violated

that standard when they failed to provide adequate respiratory and nursing care to timely reintubate

Mr. Avery.

                                               21.

       Plaintiff is filing this case within 10 days of the expiration of the statute of limitations, and

the law firm for the Plaintiff was not hired more than 90 days before the expiration of the statute.

(See Affidavit of Jane Lamberti, Esq. [Attached hereto as Exhibit “1”].) Therefore, the plaintiff

shall have 45 days to amend the complaint and provide appropriate affidavits required by

O.C.G.A. § 9-11-9.1.

                                          V. DAMAGES

                                               22.

       Plaintiff specifically reasserts and incorporates by reference each and every allegation

contained in Paragraphs 1 through 21 above.

                                               23.

All these defendants are joint tortfeasors and are jointly and severally responsible for the wrongful

death and injuries to Mr. Avery.

                                               24.

       As the direct and proximate cause of the joint and several negligence all of the above-

named defendants, Robert Avery, Sr. suffered physical pain, suffering, and emotional distress and

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lost the full value of his life. Also, the estate of Robert Avery, Sr. incurred funeral and burial

expenses.

                                                25.

       WHEREFORE, the Plaintiff prays for the following:

       1)      That Plaintiffs have issuance of process provided by law;

       2)      That Plaintiffs have a trial by jury;

       3)      That Plaintiffs have judgment entered in their favor against each of the defendants,

               jointly and severally, in an amount in excess of $10,000 for the wrongful death of

               Robert Avery, Sr. and for his pain, suffering, funeral and burial expenses;

       4)      That all costs of this action be taxed against the Defendants, jointly and severally,

               including attorney’s fees; and

       5)      That Plaintiffs have such further relief as is just and proper.

       This _4th day of April 2018.

                                                        Respectfully submitted,

                                                        /s/ Jane Mary Lamberti
                                                        Jane Mary Lamberti, Esq.
                                                        State Bar No. 432025
                                                        Shean D. Williams, Esq.
                                                        State Bar No. 764139
                                                        Gary B. Andrews, Esq.
                                                        State Bar No. 019299
                                                        Attorneys for the Plaintiffs

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GAndrews@cochranfirmatl.com




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                                                                    STATE COURT OF

                                                        EXHIBIT 1
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                                                        EXHIBIT 1
